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 9                            UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEVADA
10

11
   THEODURUS STROUS, DERIVATIVELY               Case No. 22-cv-00256-JCM-EJY
12 ON BEHALF OF SCIO DIAMOND
   TECHNOLOGY CORP.,
13
              Plaintiff,
14
         v.
15
   BERNARD MCPHEELY, KARL
16 LEAVERTON, GERALD MCGUIRE,
                                                      MOTION TO DISMISS SECOND
17 LEWIS SMOAK, ADAMAS ONE CORP. and                AMENDED VERIFIED SHAREHOLDER
   JOHN G. GRDINA,
18                                                      DERIVATIVE COMPLAINT
              Defendants,
19
         and                                    [Filed concurrently with Declaration of John
20                                              A. Sullivan]
   SCIO DIAMOND TECHNOLOGY CORP.,
21
              Nominal Defendant.
22

23

24

25

26

27

28

                             SCIO DEFENDANTS’ MEMORANDUM OF LAW
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 1          Individual Defendants Bernard McPheely, Karl Leaverton, Gerald McGuire and Lewis

 2 Smoak (“Individual Defendants” and collectively with Scio, “Scio Defendants”) respectfully

 3
     submit this Motion to Dismiss Theodorus Strous’s (“Plaintiff”) Verified Second Amended
 4
     Stockholder Derivative Complaint and Class Action Complaint (“SAC”) as it relates to the Scio
 5
     Defendants under Federal Rules of Civil Procedure 8, 12(b)(6), and 23.1.
 6
            This Motion is based on the files and pleadings in this matter, the accompanying
 7

 8 Memorandum of Points and Authorities, the concurrently filed Declaration of John A. Sullivan,

 9 and any such oral argument as the Court may permit.
10          Respectfully submitted this 17th day of February, 2023.
11

12

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16
                                                    and
17
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19                                           By: /s/ John A. Sullivan
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                                                    McPheely, Karl Leaverton, Gerald
25                                                  McGuire and Lewis Smoak
26

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28
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 1                        MEMORANDUM AND POINTS OF AUTHORITIES

 2                                            INTRODUCTION
 3           This is a derivative action brought by shareholder Plaintiff on behalf of Scio Diamond
 4
     Technology Corp. (“Scio). Defendants Bernard McPheely, Karl Leaverton, Lewis Smoak, and
 5
     Gerald McGuire (collectively, the “Scio Defendants”) are former directors and officers of the
 6
     Scio. The SAC alleges claims for breach of fiduciary duty and unjust enrichment against the Scio
 7

 8 Defendants. But as explained fully below, the action should be dismissed because: 1) Plaintiff has

 9 not pled a legally sufficient excuse for failing to make a pre-suit demand on the Scio Defendants
10 (the board of directors); and 2) the SAC fails to allege facts that would support any reasonable

11
     inference that any of the Scio Defendants’ conduct involved “intentional misconduct, fraud or a
12
     knowing violation of law”—an appreciably higher standard than gross negligence.
13
             In short, this action rises out of a shareholder’s dissatisfaction with an asset purchase
14
     agreement that was fully disclosed to all Scio Shareholders and approved by a quorum of Scio
15

16 shareholders. But Plaintiff fails to claim—much less identify any supporting facts—that Scio

17 Defendants’ actions are a “product of fraud or self-interest” or that the Scio Defendants “failed to

18 exercise due care in reaching the decision” in order to rebut the business judgment rule. Wynn

19
     Resorts, Ltd. v. Eighth Jud. Dist. Ct. in & for Cnty. of Clark, 133 Nev. 369, 377, 399 P.3d 334,
20
     343 (2017) (citing Joseph F. Troy & William D. Gould, Advising & Defending Corporate
21
     Directors and Officers § 3.15 (Cal CEB rev. ed. 2007)).
22

23           Plaintiff’s claims related to the transaction are without basis and fail for three reasons.

24           First, Plaintiff fails to adequately plead demand futility, which is required for his derivative

25 claims.

26           Second, Plaintiffs fails to rebut the business judgment rule, which inoculates the Scio
27
     Defendants from the alleged breaches of fiduciary duty. Nevada law is clear that in order to state a
28
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 1 claim for breach of fiduciary duty, Plaintiff is required to allege the Scio Defendants actions violated

 2 NRS § 78.138(7). Plaintiff’s failure to do so requires the dismissal his breach of fiduciary duty

 3
     claim.
 4
              Rather than allege Scio Defendants violated NRS § 78.138(7), Plaintiff takes a “kitchen
 5
     sink” approach and alleges more than a dozen actions and inactions by Scio that “were not a good-
 6

 7 faith exercise of prudent business judgment and/or inaction” ranging from “breaching their fiduciary

 8 duties” to “engaging in related party transactions by buying diamonds from [Scio].” (SAC at ¶ 119.)

 9 However, none of the actions and inactions Plaintiff alleges is sufficient to make out a claim for
10 breach of fiduciary duty. Specifically, as to each alleged action and inaction, Plaintiff failed to allege

11
     facts sufficient to show, that (1) the business judgment rule is rebutted; (2) that the Scio Defendants
12
     breached their fiduciary duties; and that (3) the breach involved “intentional misconduct, fraud or a
13
     knowing violation of law.” NRS § 78.138(7). Further, Plaintiff fails to identify actual knowledge by
14

15 the Scio Defendants for the wrongdoings—a requirement that is a now cornerstone of Nevada

16 breach of fiduciary duty case law following Chur v. Eighth Jud. Dist. Ct. in & for Cnty. of Clark.

17 136 Nev. 68, 458 P.3d 336 (2020).

18            Third, Plaintiff fails to plead an actionable claim for unjust enrichment.
19
              There is no reason for this litigation to move forward. The Complaint should be dismissed
20
     because Plaintiff fails to adequately plead—and altogether lacks a claim as a matter of law for—
21
     demand futility, breach of fiduciary duty, and unjust enrichment, Plaintiff’s SAC should be
22

23 dismissed under Rule 12(b)(6) and 23.1 of the Federal Rules of Civil Procedure.

24                                       FACTUAL BACKGROUND

25            Scio is a Nevada Corporation that was previously involved in manufacturing high quality,
26 lab-grown diamonds. (SAC ¶ 21.) Scio’s board of directors consisted of Bernard McPheely, Karl

27
     Leaverton, Lewis Smoak, and Gerald McGuire (collectively, the “Scio Defendants”). (SAC ¶ 22-
28
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 1 25.) For reasons unrelated to this action, Scio ceased active production of lab-grown diamonds

 2 around October of 2017. (SAC ¶¶ 39, 51.) After ceasing production, Scio Defendants looked for

 3
     different avenues of funding. From the fall of 2017 and into early 2018, Scio engaged a boutique
 4
     investment firm to help develop and shop a special investment vehicle (Special Purpose Vehicle,
 5
     SPV) and consider various license agreements; considered a strategic licensing deal with a diamond
 6

 7 producer; and considered debt restructuring. (SAC ¶¶ 40-41; Sullivan Decl. Ex. C (Scio, Proxy
                                                   1
 8 Statement (Form PRE 14A), at 8 (Feb. 8, 2019)).) During late 2017 and 2018, Scio had strategic

 9 discussions with six separate groups, but eventually struck a deal with Adamas One Corp.
10 (“Adamas”), a Nevada entity created to acquire Scio’s technology for creating high quality, lab-

11
     grown diamonds. (SAC ¶¶ 2, 21, 26, 42-43; Sullivan Decl. Ex. C.)
12
            Primarily at issue in Plaintiff’s SAC is whether the Scio Defendants acted within their
13
     fiduciary duties relating to the asset sale of Scio to Adamas in connection with a November 30, 2018
14

15 Asset Purchase Agreement that was fully disclosed in a December 11, 2018 Form 8-K and

16 subsequent Amended Asset Purchase Agreement (“Adamas Transaction”) and the February 8, 2019

17 Preliminary Proxy Statement.

18          A quorum of shareholders voted on and approved the Adamas Transaction on August 6,
19
     2019, at a special meeting. (Sullivan Decl. Ex. F (Adamas, Preliminary Prospectus (Form S-1), at
20
     F-22, (May 31, 2022).) Plaintiff does not allege that the Adamas Transaction was not approved by
21
     a majority of the shareholders.
22

23          On December 11, 2018, Scio filed a Form 8-K with the SEC announcing a November 30,

24 2018 Asset Purchase Agreement with Adamas (SAC ¶ 44; Sullivan Decl. Ex. A (Scio, Current

25 Report (Form 8-K) (Dec. 11, 2018)).) Scio filed another Form 8-K on February 7, 2019, which

26
     1
27   Scio and Adamas SEC filings are attached to the Declaration of John A. Sullivan (“Sullivan
   Decl.”). “SEC filings are judicially noticeable documents which may be considered on a motion to
28 dismiss.” Richardson v. Oppenheimer & Co. Inc., No. 2:11-cv-02078-GMN, 2014 WL 1304343, at
   *3 (D. Nev. Mar. 31, 2014) (internal citations omitted).
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 1 disclosed the terms of an Amended Asset Purchase Agreement Scio entered into with Adamas on

 2 February 4, 2019, the consummation of which required shareholder approval. (SAC ¶ 47; Sullivan

 3
     Decl. Ex. B (Scio, Current Report (Form 8-K) (Feb. 7, 2019)).) Contrary to Plaintiff’s assertion, the
 4
     public SEC filings never included stock valued at $5.8 million as part of the agreement; rather, the
 5
     filings describe satisfaction of secured debt in the amount of $3.3 million, issuance of 350,000
 6

 7 shares, and 900,000 shares to be distributed to the shareholders. (SAC ¶ 44; but see Sullivan Decl.

 8 Ex. A (Scio, Current Report (Form 8-K) (Dec. 11, 2018)); Sullivan Decl. Ex. B (Scio, Current

 9 Report (Form 8-K), at 2 (Feb. 7, 2019)).)
10          The following day, on February 8, 2019, Scio filed a Preliminary Proxy Statement with the
11
     SEC detailing the terms of the Adamas Transaction. (Sullivan Decl. Ex. C). The Preliminary Proxy
12
     Statement disclosed that the five directors and officers (which included the Individual Defendants)
13
     held a total of $165,000.00 of secured debt of Scio, and would receive payment in full from Adamas.
14

15 (Id. at 7). Scio outlined other details of the Amended Asset Purchase Agreement in the Preliminary

16 Proxy Statement, including issuance of 1,250,000 shares of Adamas common stock, 350,000 of

17 which were to be used to generate cash to settle unsecured debt and 900,000 of which were expected

18 “to be held by the Company indefinitely, and are subject to the terms of a Registration Rights

19
   Agreement…” (Id. at 1, 6). The Preliminary Proxy Statement also outlined that registration of the
20
   900,000 shares was to be done in stages by Adamas and provided Lock-Up/Leak Out Provisions.
21
   (Id. at 3).
22

23          A Final Proxy Statement was filed on May 17, 2019, which accurately disclosed that due to

24 Scio’s financial position, diamond materials were purchased by a group including three of the

25 Individual Defendants, and that cash advances and Add-On Notes were provided by all four

26
     Individuals Defendants. (Sullivan Decl. Ex. D (Scio, Definitive Proxy Statement (Form DEF 14A),
27
     at 25-26 (May 17, 2019)).) Additionally, the Final Proxy Statement disclosed that the 900,000
28
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 1 Adamas shares would be held by Scio, at Scio’s Board of Directors’ discretion, and it provided a

 2 schedule under which Adamas, at Scio’s request, would file registration statements with the SEC to

 3
     permit the resale or distribution of the Adamas shares after the closing. (Id. at 7, B-2). The Final
 4
     Proxy Statement again advised that the sale transaction was contingent on a majority approval of
 5
     the shareholders. (Id. at 2 of Stockholder Letter).
 6
            The shareholder vote was scheduled for June 7, 2019, but then rescheduled for August 6,
 7

 8 2019, at which time the sale was approved by a quorum of the shareholders. (See SAC ¶ 52; Sullivan

 9 Decl. Ex. F (Adamas, Preliminary Prospectus (Form S-1), at 1, (May 31, 2022)).) On August 8,
10 2019, following the shareholder vote, Scio and the SEC entered into a settlement agreement, under

11
     which the registration of Scio’s securities was revoked. (SAC ¶ 58; Sullivan Decl. Ex. E (Scio,
12
     Order Pursuant to Section 12(j) (Revocation Order) (Aug. 9, 2019)).)
13
            The Adamas shares were issued to Scio on September 17, 2019, and the Adamas Transaction
14

15 closed on October 17, 2019. (Sullivan Decl. Ex. F (Adamas, Preliminary Prospectus (Form S-1), at

16 1, II-2 (May 31, 2022)).) Plaintiff admits that the Adamas shares “had been distributed sometime in

17 September of 2019.” (SAC ¶ 61.) Scio’s corporate status was revoked in October of 2019. (SAC ¶

18 69.) However by this time, the Scio asset sale had already been approved by the shareholders, and

19
   the Adamas shares had been issued.
20
          On February 3, 2020, Scio and Adamas executed a Second Addendum to the Asset Purchase
21
   Agreement, maintaining the same number of shares of Adamas stock (1,250,000) but reducing the
22

23 number of shares subject to the Registration Rights Agreement from 900,000 to 800,000. (SAC

24 ¶¶ 62-63; Sullivan Decl. Ex. G (Adamas, Preliminary Prospectus (Form S-1), at Exhibit 1.2 (b),

25 Second Addendum (May 31, 2022)).) The shares were reduced from 900,000 to 800,000 because

26
     the property owner Hughes Development had taken Scio to court to collect past due rent and had
27
     placed a lien on all of the assets. Scio was responsible for 50 percent of the past due rent (Adamas
28
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 1 was liable for the other 50 percent). In an effort to prevent everything from unraveling, Scio forfeited

 2 a 100,000 shares to cover its portion of past due rent and Adamas paid Hughes Development for its

 3
     share and it removed the lien from the assets. On March 31, 2020, the Scio defendants resigned
 4
     from the board.
 5
            Plaintiff’s recitation of these facts wholly fails to include any facts that rebut the business
 6

 7 judgment rule or the requirements set out by Chur and NRS § 78.135(7).

 8                                               ARGUMENT

 9 I.       Legal Standard

10          Defendants seek dismissal of Plaintiff's SAC pursuant to Fed. R. Civ. P. 23.1, and
11 alternatively, under Fed. R. Civ. P. 12(b)(6).

12
            Under Federal Rule of Civil Procedure 23.1(b)(3), a shareholder asserting a derivative claim
13
     must “state with particularity: (A) any effort by the plaintiff to obtain the desired action from the
14
     directors or comparable authority and, if necessary, from the shareholders or members; and (B) the
15

16 reasons for not obtaining the action or not making the effort.” (Emphasis added.) Where, as here, a

17 shareholder fails to make a pre-suit demand, the shareholder must allege sufficient facts to show a

18 demand would have been futile. Arduini v. Hart, 774 F.3d 622, 628 (9th Cir. 2014).

19          Dismissal is also appropriate under Rule 12(b)(6) where a plaintiff fails to state a claim upon
20
     which relief can be granted. Fed. R. Civ. P. 12(b)(6); Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555
21
     (2007). Rule 12(b)(6) requires “more than labels and conclusions, and a formulaic recitation of the
22
     elements of a cause of action will not do.” Id. Rather, “[t]o survive a motion to dismiss, a complaint
23

24 must contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on

25 its face.’ ” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Twombly, 550 U.S. at 570). “A

26 claim has facial plausibility when the plaintiff pleads factual content that allows the court to draw

27
     the reasonable inference that the defendant is liable for the misconduct alleged.” Id. This standard
28
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 1 “asks for more than a sheer possibility that a defendant has acted unlawfully.” Id. And although the

 2 Court must take all factual allegations as true at the motion to dismiss stage, legal conclusions

 3
     couched as a factual allegations are insufficient. Twombly, 550 U.S. at 555.
 4
            Because Plaintiff fails to meet the heightened pleading standard for demand futility and fails
 5
     to state cognizable claims for breach of fiduciary duty and unjust enrichment, his claims should be
 6

 7 dismissed.

 8
     II.    Plaintiff fails to satisfy Nevada’s heightened pleading standard for demand futility that
 9          would give rise to a reasonable doubt that a majority of the Board could respond
            independently to a demand.
10
            A shareholder seeking to sue derivatively on behalf of a corporation must demand action
11

12 from the corporation’s directors or plead with particularity why a demand was futile. See Shoen v.

13 SAC Holding Corp., 122 Nev. 621, 641, 137 P.3d 1171, 1179 (2006), abrogated on other grounds

14 by Chur, 458 P.3d at 336. The pre-suit-demand requirement is only excused if the plaintiff

15 demonstrates in his complaint that the demand would have been futile. Id. at 1184.

16
            Plaintiff admits they made no pre-suit demand on the Scio board. (SAC ¶ 90.) Therefore,
17
     Plaintiff must plead particular facts that substantiate why the board in place when Plaintiff filed
18
     could not independently assess a demand that the Company file suit. Plaintiff’s main theory—that
19

20 the directors were too conflicted to exercise independent judgment—is not supported by Plaintiff’s

21 own allegations.

22          Federal Rule of Civil Procedure 23.1 provides a “heightened pleading standard,” for federal
23
     derivative actions. This heightened pleading burden “is . . . more onerous than that required to
24
     withstand a Rule 12(b)(6) motion.” Jacobi v. Ergen, No. 212CV02075JADGWF, 2016 WL
25
     1089232, at *3 (D. Nev. Mar. 17, 2016) (internal citation omitted). Because Plaintiff admits he did
26
     not make a demand, he needed to “plead with particularity the reasons why such demand would
27

28 have been futile.” Arduini v. Hart, 774 F.3d 622, 628 (9th Cir. 2014). He failed.
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 1           Nevada has adopted Delaware’s two demand futility tests, namely the Aronson test from

 2 Aronson v. Lewis, 473 A.2d 805 (Del. 1984), and the Rales test from Rales v. Blasband, 634 A.2d

 3
     927 (Del. 1993). See Shoen v. SAC Holding Corp., 122 Nev. 621, 641, 137 P.3d 1171, 1184
 4
     (2006), abrogated on other grounds by Chur, 458 P.3d at 336. Courts use the Aronson test when a
 5
     claimant’s allegations relate to a board action to determine if “under the particularized facts alleged,
 6

 7 a reasonable doubt is created that: (1) the directors are disinterested and independent and (2) the

 8 challenged transaction was otherwise the product of a valid exercise of business

 9 judgment.” Aronson, 473 A.2d at 814. In contrast, the Rales test is applied when there is an alleged
10 failure to act and instead focuses solely on the issue of conflict. Rales, 634 A.2d at 934. Under the

11
     Rales test, “the particularized factual allegations . . . [must] create a reasonable doubt that, as of the
12
     time the complaint is filed, the board of directors could have properly exercised its independent and
13
     disinterested business judgment in responding to a demand.” Id.
14

15           Courts have observed, however, that both tests functionally “amount to the same analysis

16 because they both evaluate whether directors are disinterested and independent.” In re Allegiant

17 Travel Co. S’holder Derivative Litig., No. 218CV01864APGDJA, 2020 WL 7491073, at *4 (D.

18 Nev. Dec. 18, 2020). Nevada law further explains the difference between the two tests as

19
   “interestedness [due to] potential liability can be shown only in those ‘rare case[s] . . . where
20
   defendants’ actions were so egregious that a substantial likelihood of director liability exists.’”
21
   Shoen, 137 P.3d at 1184 (quoting Seminaris v. Landa, 662 A.2d 1350, 1354 (Del. Ch. 1995)).
22

23 Plaintiff’s kitchen-sink allegations fail under either test.

24           The Nevada Supreme Court’s Chur decision makes clear that NRS § 138(7) “provides the

25 sole avenue” for assessing director liability. 458 P.3d at 340. Under NRS § 78.138(7), “a director

26
     or officer is not individually liable . . . for any damages as a result of any act or failure to act in his
27
     or her capacity as a director or officer unless” the claimant rebuts the business judgment rule
28
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 1 presumption and proves the act or failure to act was a breach of fiduciary duty that “involved

 2 intentional misconduct, fraud or a knowing violation of law.” Further, to show “intentional

 3
     misconduct” or a “knowing violation of law,” a “claimant must establish that the director or
 4
     officer had knowledge that the alleged conduct was wrongful.” Chur, 458 P.3d at 342 (emphasis
 5
     added) (dismissing derivative complaint for failing to plead directors knew their conduct was
 6

 7 wrongful).

 8          Thus, in order to avoid the pre-suit demand requirement, Plaintiff must rebut of the business

 9 judgment rule and establish that the Scio Defendants acted with knowledge that the alleged conduct
10 was wrongful—a task the Plaintiff barely attempted and falls far short of achieving. Plaintiff’s

11
     failure to sufficiently plead compliance with the demand requirement deprives Plaintiff of standing
12
     and warrants the dismissal of his SAC. Shoen, 137 P.3d at 1180 (2006).
13
            Plaintiff’s allegations (SAC ¶¶ 89 through 103) wholly fail to satisfy Nevada’s high standard
14

15 for pleading demand futility. Plaintiff admits that it needs to adequately allege demand futility as to

16 at least two of the four directors on the Board at the time this derivative action was commenced,

17 SAC ¶ 90, but it has failed to even allege demand futility with respect to a single Scio Defendant.

18          The SAC alleges four reasons for demand futility: 1) Scio Defendants face substantial
19
     likelihood of liability as a result of breaching their fiduciary duties to the Company (SAC ¶ 96); 2)
20
     Scio Defendants engaged in related party transactions (SAC ¶ 97); 3) Defendant McGuire is the
21
     COO of Adamas (id.); and 4) Scio Defendants would be unwilling to sue themselves. (SAC ¶¶ 96-
22

23 102.) Despite the SAC’s prolixity and repetition, Plaintiff has not pleaded particularized facts that

24 cause a reasonable doubt regarding the independence of the Scio directors—much less a majority

25 of them.

26
            First, Plaintiff’s allegations that Scio Defendants face substantial liability as a result of their
27
     actions is without merit. Plaintiff’s futility demand allegations regarding potential liability mirror
28
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 1 Plaintiff’s allegations relating to Scio Defendant’s breach of fiduciary duties. (See SAC ¶¶96, 119.)

 2 And as discussed in Section III below, Plaintiff wholly fails to state a cognizable claim for breach

 3
     of fiduciary duty, so Scio Defendants do not face any liability, let alone substantial liability. For
 4
     instance, Plaintiff makes identical allegations in the SAC Paragraphs 96 (demand futility) and 119
 5
     (breach of fiduciary duty), and makes no effort to rebut the business judgment rule by claiming the
 6

 7 allegations were the products of fraud, self-interest, or a failure to exercise due care. Nor does

 8 Plaintiff allege that the Scio Defendants had “knowledge of wrongdoing” relating to the allegations,

 9 as required under Chur. 458 P.3d at 342. Plaintiff’s hollow assertion that Scio Defendants’ “actions
10 were not a good-faith exercise of prudent business judgment,” is insufficient, as is Plaintiff’s

11
     assertion that Defendants “had actual or constructive knowledge that as a result of their actions in
12
     knowingly or recklessly and in bad faith…” (SAC ¶¶ 96, 119); Gaubert v. Fed. Home Loan Bank
13
     Bd., 863 F.2d 59, 68 (D.C. Cir. 1988) (Rule 23.1 “requires substantially more than Rule 8(a) notice
14

15 pleading,” and “[m]ere allegations of improper motives are especially inadequate when the

16 challenged action is not facially suspect . . . .”) In reciting these empty statements, Plaintiff ignores

17 the requirements of Rule 23.1 and NRS § 78.138(7).

18          Second, Plaintiff’s allegations that Scio Defendants engaged in “related party transactions”
19
     is not sufficient for demand futility. (SAC ¶ 97.) Specifically, Plaintiff alleges Scio provided Add-
20
     On Notes, which the Scio Defendants participated in, resulting in secured debt, which was satisfied
21
     in the Adamas Transaction. (Id.) But Plaintiff admits these “related party transactions” were
22

23 disclosed prior to the shareholder vote approving the Adamas Transaction in Scio’s Final Proxy

24 Statement in May of 2019, and fails to establish how disclosure of these transactions were the result

25 of wrongful conduct. Chur, 458 P.3d at 342); see also Guzman v. Johnson, 483 P.3d 531, 538 (2021)

26
     (affirming dismissal of breach of fiduciary and rejecting argument that inherent fairness standard
27
     can be used to rebut business judgment rule.) The Guzman court made clear that allegations that a
28
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 1 director was self-interested in a transaction alone are not sufficient to rebut the business judgment

 2 rule’s presumption of good faith. Guzman, 483 P.3d at 538. Indeed, it is difficult to see how the

 3
     disclosure of these transactions before to the shareholder vote could ever be labelled as occurring
 4
     in bad faith.
 5
             Third, Plaintiff alleges that “[Individual Defendant] McGuire is COO of Adamas leaving no
 6

 7 doubt about his lack of independence.” (SAC ¶ 97.) But simply including a conclusory allegation

 8 regarding an alleged lack of independence is not sufficient. Instead, Nevada law dictates that interest

 9 or lack of independence must be established through Plaintiff showing that there is a “substantial
10 likelihood” that the Scio Defendants are liable. Shoen, 137 P.3d at 1184. Plaintiff fails to include

11
     any allegations that show that any Scio Defendant’s present capacity at a new company has any
12
     bearing on the likelihood of his liability.
13
             Fourth, Plaintiff alleges that the Scio Defendants would be unwilling to sue themselves.
14

15 (SAC ¶¶ 101, 102.) Plaintiff claims that Scio Defendants may be protected against personal liability

16 through D&O insurance and if there is D&O insurance it may contain an “insured-versus-insured

17 exclusion.” (SAC ¶ 101.) These are Plaintiff’s speculations, not facts. Without specific supporting

18 details supporting a “substantial likelihood of director liability,” these allegations are

19
   deficient. See Shoen, 137 P.3d at 1183 (“Allegations of mere threats of liability . . . do not show
20
   sufficient interestedness to excuse the demand requirement.”); In re Sagent Tech., 278 F. Supp. 2d
21
   1079, 1089 (N.D. Cal. 2003) (“A plaintiff may not ‘bootstrap allegations of futility’ by pleading
22

23 merely that ‘the directors . . . would be reluctant to sue themselves.’”)

24           Plaintiff’s failure to plead with sufficient particularity facts that show a majority of

25 Individual Defendants lacked the ability to impartially consider his pre-suit demand requires the

26
     dismissal of Plaintiff’s claims under Fed. R. Civ. P. 23.1.
27

28
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 1 III.     Plaintiff’s breach of fiduciary duty allegations fail as a matter of law.

 2          Plaintiff’s failure to state a cognizable breach of fiduciary duty claim provides further basis
 3 to dismiss his claims. As discussed above, NRS § 78.138(7) requires a two-step analysis. The first

 4
     step requires Plaintiff to rebut the business judgment rule, which presumes “directors and officers .
 5
     . . act in good faith, on an informed basis and with a view to the interests of the corporation” in
 6
     deciding upon matters of business. NRS § 78.138(3). Should Plaintiff successfully rebut the
 7

 8 business judgment rule, the second step requires Plaintiff to show the Individual Defendants’ alleged

 9 action or inaction constitutes “a breach of his or her fiduciary duties,” and that breach must further
10 involve “intentional misconduct, fraud or a knowing violation of law.” NRS § 78.138(7)(b)(1)-(2).

11
            The business judgment rule provides that, “in deciding upon matters of business,” corporate
12
     directors “are presumed to act in good faith, on an informed basis and with a view to the interests
13
     of the corporation.” NRS § 78.138(3). This “ensures that courts defer to the business judgment of
14
     corporate executives.” Wynn, 399 P.3d at 344. Further, it prevents a court “from reviewing the
15

16 substantive reasonableness of a board’s business decision.” Id. at 343. A Nevada court “will not

17 second-guess” corporate directors’ decisions. Id. at 377 (quotation marks, citation, and brackets

18 omitted). In fact, “even a bad decision is generally protected by the business judgment rule.” Shoen,

19
     137 P.3d at 1181.
20
            In order to rebut the business judgment rule and before moving to the second step of the
21
     analysis, Plaintiff must establish that the Scio Defendants’ actions were the “product of fraud or
22

23 self-interest” or they “failed to exercise due care in reaching the decision.” Wynn, 399 P.3d at 343

24 (internal citations and quotations omitted). But even if Plaintiff is able to rebut the business

25 judgment rule, he then must also show that the Scio Defendants breached their fiduciary

26 duties and that the breaches involved “intentional misconduct, fraud or a knowing violation of

27
     law.” NRS § 78.138(7)(b)(1)-(2); Chur, 458 P.3d at 338; Wynn, 399 P.3d at 342. Gross negligence
28
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 1 and “factual knowledge” are not sufficient to establish liability under NRS § 78.138(7). Chur, 458

 2 P.3d at 341-342. Rather, Plaintiff is required to show Scio Defendants had “knowledge of

 3
     wrongfulness” with regard to their actions or inactions. Id. at 342 (citation omitted).
 4
            The Chur Court noted that “[t]o give the [NRS 8.138(7)] statute a realistic function, it must
 5
     protect more than just directors (if any) who did not know what their actions were; it should protect
 6

 7 directors who knew what they did but not that it was wrong.” 458 P.3d at 342 (quoting In re ZAGG

 8 Inc. S’holder Derivative Action, 826 F.3d 1222, 1233 (10th Cir. 2016)). The Court also noted that

 9 “knowledge of wrongdoing is “an appreciably higher standard than gross negligence.” Id. at 342.
10 The SAC comes nowhere close to satisfying this standard. It alleges no particularized facts at all

11
     that any individual director had “knowledge of wrongdoing.”
12
            Rather than allege Scio Defendants violated NRS § 78.138(7), Plaintiff takes a “kitchen-
13
     sink” approach and alleges more than a dozen actions and inactions by Scio that “were not a good-
14

15 faith exercise of prudent business judgment and/or inaction” ranging from “breaching their

16 fiduciary duties” to “engaging in related party transactions by buying diamonds from [Scio].”

17 (SAC ¶ 119.) However, none of the actions and inactions Plaintiff alleges is sufficient to make out

18 a claim for breach of fiduciary duty. Plaintiffs’ allegations fall into the following categories:

19
   1) alleged failure to communicate with shareholders; 2) alleged failure to file SEC filings; 3)
20
   reducing shares in the sale from 900,000 to 800,000; 4) allowing a default judgment to be entered
21
   against Scio; 5) alleged statutory violations; and 6) alleged failure to provide comments on the
22

23 Adamas Registration Statement and Final Prospectus. In each of these categories, Plaintiff failed

24 to allege particularized facts sufficient to show that Scio Defendants’ actions involved “intentional

25 misconduct, fraud or a knowing violation of law.” NRS § 78.138(7).

26

27

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 1      A. Failure to communicate allegations

 2          The vast majority of the alleged actions/inactions amount to the Scio Defendants not
 3
     satisfying Plaintiff’s invented standard of keeping him informed on a play-by-play basis after the
 4
     Adamas Transaction shareholder vote. Plaintiff’s allegations include the Scio Defendants:
 5
                •   withheld the results of the shareholder vote (SAC ¶119 (i));
 6

 7              •   withheld whether the Adamas Transaction closed (id. at ¶119 (ii)) and the

 8                  corresponding, and in part contradictory, “closing” of the Adamas Transaction

 9                  without informing Scio shareholders (id. at ¶119(iii));
10
                •   the alleged distribution of the 900,000 Adamas shares received by Scio shareholders
11
                    (id. at ¶119 (iv)(b));
12
                •   not informing Scio shareholders how the Adamas stock was performing (id. at ¶119
13

14                  (v));

15              •   not informing Scio shareholders whether Scio’s secured and unsecured debt was

16                  satisfied (id. at ¶119 (vi) and (vii));
17
                •   buying diamonds “for [Scio Defendants’] own use” (id. at ¶113 (xiii));
18
                •   not communicating “financial information” post-closing of the Adamas Transaction
19
                    (id. at ¶113 (viii)); and
20

21              •   not contacting shareholders after the registration of shares was revoked “with any

22                  plans for the Company going forward.” (id. at ¶119 (xii)).

23          As evident from the list of complaints, none of these alleged failures of communication rise
24
     to the level of rebutting the business judgment rule much less that the Scio Defendants had
25
     “knowledge of wrongdoing” in their lack of communication. Chur, 458 P.3d at 342. See In re
26
     Amerco Derivative Litig., 127 Nev. 196, 225, 252 P.3d 681, 701 (2011) (“simply alleging . . .[a
27

28
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 1 disclosure] . . . did not contain enough information . . . does not demonstrate that respondents

 2 engaged in intentional misconduct or fraud.”)

 3
            Moreover, Plaintiff fails to explain how any of the diamond purchases are relevant to any
 4
     claim for breach of fiduciary duty when these transactions were indisputably disclosed to Scio’s
 5
     shareholders in May of 2019 prior to the shareholder vote. See Dohmen v. Goodman, 234 A.3d 1161,
 6

 7 1168 (Del. 2020) (holding that when directors request a discretion shareholder action such as

 8 approving a corporate action, the directors must “disclose fully and fairly all material facts within

 9 their control bearing on the request.”) Thus, shareholders were aware of this fact when they voted
10 on and approved the Adamas Transaction. Further, the May 2019 Final Proxy Statement explains

11
     that the purchases were made, along with cash advances, “to pay certain minimal obligations of the
12
     Company.” (Scio, Definitive Proxy Statement (Form DEF 14A), at 25-26 (May 17, 2019)); See
13
     Arnold v. Soc’y for Sav. Bancorp, Inc., 650 A.2d 1270, 1285 (Del. 1994) (rejecting argument that
14

15 the director and chairman’s abstention should have been disclosed “more emphatically” in the proxy

16 statement where proxy statement disclosed the abstention and reasoning for the same.)

17          In addition to disclosing the diamond purchases, the fact that the secured and unsecured debt
18
     would be satisfied or settled as a result of the Adamas Transaction was also disclosed to shareholders
19
     in December 2018, February of 2018, and yet again in May of 2019. (See Sullivan Decl. Ex. A (Scio,
20
     Current Report (Form 8-K) (Dec. 11, 2018)); Sullivan Decl. Ex. C (Proxy Statement (Form PRE
21
     14A), at 2, 6-7 (Feb. 8, 2019)); Sullivan Decl. Ex. D (Scio, Definitive Proxy Statement (Form DEF
22

23 14A), at 2, 6-7 (May 17, 2019)).) These complaints, along with the additional vague allegations that

24 the Scio Defendants failed to update shareholders post-vote, amount to Plaintiff complaining about

25 the Scio Defendants failing to hold Plaintiff’s hand throughout the Adamas Transaction—but such

26
     “handholding” has no basis in law. In fact, a fiduciary duty to disclose does not require a “needlessly
27
     cumulative ‘play-by-play’” of negotiations or events leading up to a transaction. Dent v. Ramtron
28
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 1 Int’l Corp., No. CIV.A. 7950-VCP, 2014 WL 2931180, at *15 (Del. Ch. June 30, 2014); City of

 2 Miami Gen. Emps. v. Comstock, No. CV 9980-CB, 2016 WL 4464156, at *15 (Del. Ch. Aug. 24,

 3
     2016), aff’d on other grounds sub nom. City of Miami Gen. Employees’ & Sanitation Employees’
 4
     Ret. Tr. v. Comstock, 158 A.3d 885 (Del. 2017) (“Delaware law does not require disclosure of a
 5
     play-by-play of negotiations leading to a transaction or of potential offers that a board has
 6

 7 determined were not worth pursuing.); See also Shoen, 137 P.3d at 1178 1183–84, 1186 (adopting

 8 Delaware law regarding demand futility and looking to Delaware case law for definition of fiduciary

 9 duties.)
10            If the Scio Defendants were not required to provide a play-by-play of every action leading
11
     up to the Adamas Transaction, it necessarily follows that they were not required to provide at play-
12
     by-play following an indisputably fully-informed shareholder vote approving the Adamas
13
     Transaction, when the Scio Defendants were not requesting any additional stockholder action such
14

15 as a vote.

16            Delaware’s Supreme Court had the opportunity to address communications to shareholders

17 in contexts “not associated with a request for stockholder action.” Dohmen, 234 A.3d at 1168. The

18 Dohmen Court held that in these situations—specifically situations “such as when directors make

19
   periodic financial disclosures required by securities laws,”—there was no fiduciary duty of
20
   disclosure. Id. 1168-69. While, there is a duty to “deal honestly with stockholders,” in these contexts,
21
   in order to have breached a fiduciary duty, “the directors must have knowingly disclosed false
22

23 information.” Id. at 1169. The purpose of requiring this scienter is to “distinguish innocent or

24 negligent disclosure violations from those involving an intent to mislead stockholders.” Id.

25            These alleged actions and inactions taken by Scio Defendants are entitled to the business
26
     judgment rule as Plaintiff failed to allege facts that these alleged wrongdoings are a “product of
27
     fraud or self-interest” or that the Scio Defendants “failed to exercise due care in reaching the
28
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 1 decision.” Wynn, 399 P.3d at 343. Even if Plaintiff could rebut the entitlement to the business

 2 judgment rule, Plaintiff plead no allegations that Defendants’ alleged failures to communicate

 3
     involved intentional misconduct, fraud, or a knowing violation of law, thus, there would be no
 4
     liability under Nev. Rev. Stat. § 78.138(7)(b).
 5
        B. Failure to file SEC filings allegations
 6
            Plaintiff makes a number of allegations related to a lack of SEC filings. (SAC ¶ 119 (ix),
 7

 8 (xii), (xiv); ¶ 39 (ii).) But failure to file SEC filings are matters of negligence. Directors do not have

 9 a fiduciary duty to file SEC filings. Weinfeld v. Minor, No. 314CV00513RCJWGC, 2016 WL
10 4487844, at *5 (D. Nev. Aug. 24, 2016) (holding that the failure “to file tax returns or SEC filings”

11
     amount to “matters of negligence” and the business judgment rule prevented claims against
12
     Defendants for “failing to make filings with the IRS, SEC, or other agencies…”) Thus, having the
13
     registration of the Scio shares revoked for failure to file SEC filings and not informing the
14

15 shareholders of the same, amounts to at most a claim of negligence. See also Stewart v. Kroeker,

16 No. CV04-2130L, 2006 WL 167938, at *6 (W.D. Wash. Jan. 23, 2006) (holding that failure to file

17 Form TA-1 was not “intentional misconduct, fraud or knowing violation of law” as required by NRS

18 § 78.138.) Therefore, even if the Plaintiff rebutted the business judgment rule—which he did not—

19
   Nevada law is clear that this is a matter of negligence, which is insufficient to establish liability
20
   under NRS § 78.138(7). See Chur, 458 P.3d at 341-342.
21
       C. Share reduction allegations
22

23          Plaintiff alleges that Defendants breached their fiduciary duty by agreeing to and “hiding”

24 the Second Addendum from Scio shareholders which reduced the 900,000 Adamas shares to

25 800,000, and by failing to request Adamas register the shares “in a timely fashion as part of the

26
     Amended Agreement” resulting in the shares being “diluted” (SAC ¶ 119(iv)(a) and (c).) But
27
     Plaintiff misstates the facts regarding the reduction in shares. The total shares distributed to Scio
28
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 1 shareholders did not reduce to 800,000, rather the amount of shares received in the transaction

 2 remained the same: 1,250,000. Scio Defendants only reduced the number of shares subject to the

 3
     Registration Rights Agreement to 800,000. (Sullivan Decl. Exs. G-H (Adamas, Preliminary
 4
     Prospectus (Form S-1), at Exhibits 1.2 (b) and 4.2, Second Addendum (May 31, 2022)).)
 5
             Further, the Registration Rights Agreement does not require Scio to request Adamas register
 6

 7 the shares. (See Sullivan Decl. Ex. H (Exhibit 4.2 of the May 31, 2022 S-1).) Plaintiff also claims

 8 that the Scio Defendants allowed the Lock-Up/Leak Out Provision to be amended to the detriment

 9 of shareholders. (SAC ¶119 (iv)(c).) However, it is telling that Plaintiff makes no effort to explain
10 how the Lock-Up/Leak Out amendment resulted in a detriment to the shareholders.

11
            As with the other allegations, the execution and/or approval of the Second Addendum is a
12
     decision protected by the business judgment rule. Plaintiff failed to allege facts that the reduction of
13
     shares subject to the Registration Rights Agreement, lack of registering the shares, and the changes
14

15 to the Lock-Up/Leak Out Provision were a “product of fraud or self-interest” or that the Scio

16 Defendants “failed to exercise due care in reaching the decision.” Wynn, 399 P.3d at 343. Plaintiff

17 additionally fails to allege how these decisions involved intentional misconduct, fraud, or a knowing

18 violation of law, thus, there would be no liability under Nev. Rev. Stat. § 78.138(7)(b). In re Amerco

19
   Deriv. Litig., 127 Nev. 196, 224, 252 P.3d 681, 701 (2011).
20
       D. Default judgment allegations
21
           Plaintiff allege that the Defendants caused Scio to have a default judgment entered against
22

23 it in the amount of over $60,000. (SAC ¶ 119(xiii).) But Plaintiff also acknowledges that Scio had

24 a balance of over $700,000 with Best & Flanagan, and resolved the same for $133,000 (which

25 included the default judgment). (SAC ¶¶ 77-79.) Taking on debt is not a breach of fiduciary duty,

26
     even where the company is insolvent. In re Fedders N. Am., Inc., 405 B.R. 527, 541 (Bankr. D. Del.
27
     2009). It is impossible to imagine how reducing a $700,000 debt to just over $133,000 and ultimately
28
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 1 satisfying the same is the “product of fraud or self-interest” by the Scio Defendants, or that they

 2 “failed to exercise due care in reaching [their] decision,” in order to rebut the business judgment

 3
     rule as required by Wynn. 399 P.3d at 343. Further, Plaintiff cannot even make a colorable argument
 4
     that settling a debt at a significant reduction, even if by way of a default judgment, amounts to
 5
     “intentional misconduct, fraud or a knowing violation of law.” NRS § 78.138(7)(b)(1)-(2).
 6
         E. Statutory violation allegations
 7

 8          Finally, Plaintiff alleges that failing to place Scio assets in a trust and act as trustees or

 9 dissolving Scio without a vote or notice to shareholders after Scio’s corporate status was revoked
10 amounts to a breach of fiduciary duty. (SAC 119(x); ¶ 38 (x).) Plaintiff alleges this occurred when

11
     Scio “failed to file its annual filing on September 30, 2019,” and that the revocation “most likely”
12
     happened in October of 2019. (SAC ¶ 8.) Plaintiff cites NRS § 78.175(5) and § 78.580(3) in support
13
     of his contentions. (SAC ¶¶ 69, 70, 72.) NRS § 78.175(5) requires that where a corporate charter is
14

15 revoked, the property and assets in the defaulting corporation “must be held in a trust by the directors

16 of the corporation.” But by October of 2019, the Adamas Transaction, which resulted in a sale of

17 “substantially all of [Scio’s] assets” to Adamas, had been finalized. (See Scio, Definitive Proxy

18 Statement (Form DEF 14A), at 1 (May 17, 2019)). Further, § 78.580(3) applies to dissolved

19
   companies, which Scio is not.
20
           Plaintiff fails to allege any facts that show the alleged actions and inactions were product of
21
   fraud and self-interest or that the Scio Defendants failed to exercise due care. Wynn, 399 P.3d at
22

23 343. As such, Plaintiff has failed to rebut the business judgment rule and therefore does not have

24 any claim against the Scio Defendants.

25 IV.      Plaintiff’s unjust enrichment allegations also fail.
26          Under Nevada law, the required elements for an unjust enrichment claim are: (1) a benefit
27
     conferred on a defendant by the claimant; (2) the defendant’s appreciation of the benefit; and (3)
28
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 1 acceptance and retention of said benefit (4) in circumstances where it would be inequitable to

 2 retain the benefit without payment for the same. Weinfeld v. Minor, No. 314CV00513RCJWGC,

 3
     2016 WL 4487844, at *6 (D. Nev. Aug. 24, 2016). Plaintiff’s unjust enrichment count merely
 4
     reiterates “each and every allegation set for above,” and recites that the Scio Defendants “were
 5
     unjustly enriched at the expense of, and to the detriment of Scio” (SAC ¶ 122-123.) Plaintiff
 6
     makes no attempt to satisfy the four-part requirement of unjust enrichment under Nevada law and
 7

 8 provides no specific factual allegations in support of this count. “[M]erely vague, conclusory and

 9 general allegations, however, will not overcome a Rule 12(b) motion.” Bank of New York Mellon
10 v. Moussaoui, 2016 WL 9504295, at *1 (Nev. Dist. Ct. Apr. 4, 2016). Even read as a whole, the

11
     SAC fails to state a claim for unjust enrichment because the transaction was fully disclosed to and
12
     approved by a quorum of shareholders. The allegations, even accepted as true, do not show that
13
     Scio Defendants received an improper personal benefit. The only allegation that approaches a
14

15 benefit received is the allegation that certain Individual Defendants bought diamonds from Scio

16 for their own use. (SAC ¶¶ 96, 119.) But the purchase of diamonds alone is insufficient to state a

17 claim for unjust enrichment, particularly when these purchases were disclosed to shareholders. See

18 Weinfeld v. Minor, No. 314CV00513RCJWGC, 2016 WL 4487844, at *6 (D. Nev. Aug. 24, 2016)

19
   (dismissing unjust enrichment claim due to plaintiff’s failure to allege a “willfully conferred
20
   benefit upon Defendants that in equity must be returned or paid for.”).
21

22                                              CONCLUSION
23
            The Plaintiff’s SAC fails to satisfy the requirements for pleading demand futility and fails
24
     to satisfy the substantive elements of breach of fiduciary duty and unjust enrichment.
25
     Fundamentally, Plaintiff misunderstands the requirements of FRCP 23.1, and wholly fails to show
26
     that the Scio Defendants’ “actions were so egregious that a substantial likelihood of director liability
27

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 1 exists.” Shoen, 137 P.3d at 1184. As such, Plaintiff lacks standing to bring derivative claims, and

 2 this case should be dismissed with prejudice.

 3

 4
           Respectfully submitted this 17th day of February, 2023.
 5

 6

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